                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
v.                                               )             No. 3:25-MJ-2093
                                                 )
REGAN DARBY PRATER,                              )
                                                 )
                       Defendant.                )


            ORDER OF DETENTION PENDING FURTHER PROCEEDINGS
                   PURSUANT TO THE BAIL REFORM ACT

      On Thursday, April 24, 2025, Defendant appeared before the undersigned for an initial
appearance on a Criminal Complaint. An Assistant United States Attorney was present
representing the Government. Federal Defender Services was present on behalf of Defendant.
The Government moved for detention of Defendant under the Bail Reform Act, 18 U.S.C. §
3142(e) and § 3142(f)(1).

      Defendant, through counsel, indicated that he waived the right to a detention hearing.
Defendant executed a waiver waiving the right to a detention hearing and reserving the right to
move for a detention hearing at a later date. Accordingly, pursuant to that waiver, the Court orders
that Defendant be DETAINED, and Defendant shall be held in the custody of the United States
Marshal until a detention hearing, if any, is held.

      The Court directs that Defendant be committed to the custody of the Attorney General or
his/her designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal;
that Defendant be afforded a reasonable opportunity for private consultation with counsel; and, on
order of a court of the United States or on a request of an attorney for the Government, the person
in charge of the corrections facility in which Defendant is confined deliver Defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.

     IT IS SO ORDERED.                                       ENTER:


                                                             _____________________________
                                                             Jill E. McCook
                                                             United States Magistrate Judge




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